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                       UNITED STATES DISTRICT COURT
                            DISTRICT OF MAINE


 APRIL M. WOOD,                          )
                                         )
       Plaintiff,                        )
                                         )
              v.                         )     1:14-cv-00399-JDL
                                         )
 UNITED STATES OF AMERICA,               )
                                         )
       Defendant.                        )


           ORDER ON THE GOVERNMENT’S MOTION TO DISMISS

                                 I. INTRODUCTION

       April M. Wood, a veteran of the United States Army, claims that she was

 negligently treated by Dr. Thomas Franchini (hereinafter “Franchini”), a former

 Veterans Affairs podiatrist at the Togus Veterans Affairs Medical Center (the

 “VAMC”). She also alleges that the VAMC and Franchini fraudulently concealed

 Franchini’s negligence, preventing her from asserting her rights in a timely fashion.

 In her Second Amended Complaint (ECF No. 102), Wood brings claims against the

 federal government (alternatively, the VAMC or the “Government”) for vicarious

 liability for Franchini’s alleged negligence (Count I); direct liability for negligence

 (Count II); lack of informed consent (Count III); and fraudulent concealment (Count

 IV). The Government has moved to dismiss the Second Amended Complaint for lack

 of subject matter jurisdiction pursuant to Federal Rule of Civil Procedure 12(b)(1)

 (ECF No. 107).
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       This is the second motion to dismiss that the Government has filed in this case.

 In an Order issued in February 2016, I resolved almost all of the issues raised in the

 Government’s first Motion to Dismiss in favor of the Government, ruling that Maine’s

 three-year limitations period for bringing claims against health care providers, 24

 M.R.S.A. § 2902 (2017) is a statute of repose and not a statute of limitations, and that

 § 2902 is not preempted by the Federal Tort Claims Act (“FTCA”), 28 U.S.C.A. §

 2401(b) (2017). See ECF No. 45 at 40. The Government argues that because § 2902

 is a statute of repose, the three-year repose period for the medical negligence alleged

 by Wood began to run no later than December 2009—the date of Wood’s last surgery

 performed by Franchini—rather than from February 2013, when Wood discovered

 the facts underlying her claims. Thus, the claims alleged by Wood are time-barred

 absent some basis in law or equity for tolling the three-year statute of repose.

       Wood asserts that the statutory tolling provision in 14 M.R.S.A. § 859 (2017)

 related to fraudulent concealment applies to her claims:

       If a person, liable to any action mentioned, fraudulently conceals the
       cause thereof from the person entitled thereto, or if a fraud is committed
       which entitles any person to an action, the action may be commenced at
       any time within 6 years after the person entitled thereto discovers that
       he has just cause of action[.]

 14 M.R.S.A. § 859. If § 859 governs Wood’s claims, its six-year limitations period

 “starts to run when the existence of the cause of action or fraud [was] discovered or

 should have been discovered by the plaintiff in the exercise of due diligence and

 ordinary prudence.” Westman v. Armitage, 215 A.2d 919, 922 (Me. 1966). Extending

 the limitations period from three years from the date of the alleged tortious act in

 accordance with § 2902’s statute of repose, to six years from the time Wood discovered

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 the alleged tortious act, brings Wood’s claims within § 859’s six-year statute of

 limitations. Accordingly, I deferred a final ruling on the applicability of § 859 in

 connection with the first Motion to Dismiss to afford Wood, and the plaintiffs in five

 related actions,1 the opportunity to conduct limited discovery on the issue of

 fraudulent concealment and to seek to amend their complaints on the basis of that

 discovery.

         For the reasons explained below, I conclude that a genuine dispute of material

 fact exists with regard to whether the VAMC and Franchini fraudulently concealed

 instances of medical malpractice from Wood, and that these facts are inextricably

 intertwined with the merits of Wood’s claims. Thus, I cannot yet determine whether,

 as a matter of law, § 859 governs Wood’s claims, and I deny the Motion to Dismiss as

 to Counts I (Vicarious Liability), Count II (Direct Liability), and Count III (Lack of

 Informed Consent) for that reason. The Government also moves to dismiss Count IV

 (Fraudulent Concealment) for lack of subject matter jurisdiction pursuant to

 restrictions established by the FTCA in 28 U.S.C.A. §§ 2675(a) and 2680(h), and, as

 explained below, I conclude that Count IV should be dismissed.

                                         II. LEGAL ANALYSIS

         The Government seeks to dismiss the Second Amended Complaint for lack of

 subject matter jurisdiction pursuant to Federal Rule of Civil Procedure 12(b)(1).2 A


  1 See Mansir v. United States, 1:14-cv-00503-JDL; Prescott v. United States, 1:14-cv-00551-JDL; Myrick v.

 United States, 1:15-cv-00045-JDL; Korsiak v. United States, 1:15-cv-00220-JDL; and Downs v. United States, 1:15-
 cv-00525-JDL.

  2 Citing United States v. Kwai Fun Wong, 135 S.Ct. 1625 (2015), Wood argues that because “the FTCA’s time

 bars are nonjurisdictional and subject to equitable tolling,” claims of untimeliness under the FTCA cannot be



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 federal court generally may not rule on the merits of a case without first determining

 that it has jurisdiction over the category of claim in the suit, i.e., subject matter

 jurisdiction. See Sinochem Int’l Co. v. Malaysia Int’l Shipping Corp., 549 U.S. 422,

 430-31 (2007).

         A defendant may challenge the court’s subject matter jurisdiction pursuant to

 Rule 12(b)(1) in two ways: facially or factually. See Torres-Negrón v. J & N Records,

 LLC, 504 F.3d 151, 162 (1st Cir. 2007). In a facial attack, the court accepts as true

 those allegations in the complaint—“sometimes augmented by an explanatory

 affidavit or other repository of uncontested facts”—that are relevant to jurisdiction,

 draws all reasonable inferences from them in the plaintiff’s favor, and determines

 whether they are sufficient to establish the court’s subject matter jurisdiction.

 Valentin v. Hosp. Bella Vista, 254 F.3d 358, 363 (1st Cir. 2001); see also Torres-

 Negrón, 504 F.3d at 162.

         A defendant may also mount a factual challenge to subject matter jurisdiction:

         The second way to engage the gears of Rule 12(b)(1) is by controverting
         the accuracy (rather than the sufficiency) of the jurisdictional facts
         asserted by the plaintiff and proffering materials of evidentiary quality
         in support of that position. Unlike, say, a motion for summary judgment
         under Federal Rule of Civil Procedure 56(c), this type of challenge under
         Federal Rule of Civil Procedure 12(b)(1)—which we shall call a “factual
         challenge”—permits (indeed, demands) differential factfinding. Thus,
         the plaintiff’s jurisdictional averments are entitled to no presumptive
         weight; the court must address the merits of the jurisdictional claim by

 resolved under Rule 12(b)(1), and are instead an affirmative defense which the defendant has the burden of
 establishing. 135 S.Ct. at 1638. Wood is correct that in Kwai Fun Wong, the Supreme Court ruled that the time
 bars contained in § 2401(b) of the FTCA are non-jurisdictional. See Kwai Fun Wong, 135 S.Ct. at 1637-38. The
 Government’s Motion to Dismiss, however, does not allege non-compliance with § 2401(b)’s time bars but rather
 alleges a violation of § 2902, which determines the Government’s waiver of sovereign immunity pursuant to 28
 U.S.C.A. §§ 1346(b) and 2674. See ECF No. 107 at 1-3; 28 U.S.C.A. §§ 1346(b), 2674; Abreu v. United States, 468
 F.3d 20, 25 (1st Cir. 2006) (“In a suit under the FTCA, the district court’s jurisdiction is limited by 28 U.S.C. §
 1346(b). Only claims properly within the scope of the FTCA’s waiver of sovereign immunity in 28 U.S.C. § 2674
 are cognizable.”). The Government’s challenge, therefore, is jurisdictional, and Kwai Fun Wong is inapposite.

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       resolving the factual disputes between the parties. In conducting this
       inquiry, the court enjoys broad authority to order discovery, consider
       extrinsic evidence, and hold evidentiary hearings in order to determine
       its own jurisdiction.

 Valentin, 254 F.3d at 363 (internal citations and footnote omitted). “In a situation

 where the parties dispute the predicate facts allegedly giving rise to the court’s

 jurisdiction, the district court will often need to engage in some preliminary fact-

 finding.” Skwira v. United States, 344 F.3d 64, 71-72 (1st Cir. 2003).

       Where, in a factual challenge, the necessary facts are relevant both to

 jurisdiction and to the merits of the plaintiff’s case, however, “the standard applicable

 to a motion for summary judgment” applies. Torres-Negrón, 504 F.3d at 163 (quoting

 Autery v. United States, 424 F.3d 944, 956 (9th Cir. 2005) (internal quotation marks

 omitted)). If the material jurisdictional facts are not in dispute and the moving party

 is entitled to prevail on the jurisdictional question as a matter of law, then the motion

 to dismiss is granted. Torres-Negrón, 504 F.3d at 163; Me. Human Rights Comm’n v.

 Sunbury Primary Care, P.A., 770 F. Supp. 2d 370, 397 (D. Me. 2011). On the other

 hand, “[s]hould the plaintiff present evidence showing that the relevant facts are

 genuinely disputed, the case proceeds to trial and the jurisdictional dispute will be

 reevaluated once the factfinder has resolved the issues of fact.” Sunbury, 770 F.

 Supp. 2d at 397 (citing Torres-Negrón, 504 F.3d at 163); see also Valentin, 254 F.3d

 at 363 n.3 (“[F]or cases in which the jurisdictional facts, though genuinely disputed,

 are inextricably intertwined with the merits of the case . . . the court may defer

 resolution of the jurisdictional issue until the time of trial.”). At trial, “[i]t is the

 plaintiff’s burden to prove the existence of subject matter jurisdiction.” Aversa v.


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 United States, 99 F.3d 1200, 1209 (1st Cir. 1996) (citing Murphy v. United States, 45

 F.3d 520, 522 (1st Cir. 1995)).

       Wood’s Second Amended Complaint alleges facts intended to demonstrate

 fraudulent concealment in two ways:            first, fraudulent concealment allegedly

 committed by Franchini in misleading Wood as to the results of her initial surgery

 and the reasons for the continuing problems she experienced with her foot; and

 second, fraudulent concealment allegedly committed by the VAMC in concealing

 and/or failing to disclose Franchini’s negligent treatment to Wood.      I address, in

 order, (1) the Government’s challenge to Wood’s allegations of fraudulent

 concealment; (2) whether a special relationship existed between Wood and the VAMC

 that imposed a duty on the VAMC to disclose Franchini’s alleged negligence to Wood;

 and (3) the Government’s contention that because the FTCA does not afford subject

 matter jurisdiction for any claim arising out of misrepresentation, Count IV of the

 Second Amended Complaint should be dismissed because it specifically seeks

 damages for fraudulent concealment, a form of misrepresentation.

 1.    Fraudulent Concealment under 14 M.R.S.A. § 859

       To benefit from the six-year statute of limitations provided by § 859, Wood

 must establish that the VAMC or Franchini, acting as its employee, actively

 concealed facts from her and that she relied on the concealment to her detriment.

 Brawn v. Oral Surgery Assocs., 819 A.2d 1014, 1026 (Me. 2003). “Active concealment

 of the truth connotes steps taken by a defendant to hide the true state of affairs from

 the plaintiff.” Kezer v. Mark Stimson Assocs., 742 A.2d 898, 905 (Me. 1999) (internal



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 quotation marks omitted). Active concealment does not require an affirmative false

 statement and “may consist as well in the concealment of what is true as in the

 assertion of what is false.” Horner v. Flynn, 334 A.2d 194, 203 (Me. 1975), overruled

 on other grounds by Taylor v. Comm’r of Mental Health & Mental Retardation, 481

 A.2d 139 (Me. 1984); see also Sprague Energy Corp. v. Massey Coal Sales Co., No. 05-

 222-P-S, 2006 WL 696197, at *17 (D. Me. Mar. 15, 2006) (“Fraud need not necessarily

 take the form of an express false statement; rather, it can be predicated on active

 concealment of the truth.”).

        When a plaintiff alleges fraudulent concealment through the active

 concealment of facts, the court must assess the allegations against the elements of

 fraud: (1) the making of a false representation; (2) of a material fact; (3) with

 knowledge of its falsity or in reckless disregard of whether it is true or false; (4) for

 the purpose of inducing another to act upon it; and (5) justifiable and detrimental

 reliance by the other person. Brawn, 819 A.2d at 1026; see also Harris Mgmt., Inc. v.

 Coulombe, 151 A.3d 7, 16 n.7 (Me. 2016). “In alleging fraud or mistake, a party must

 state with particularity the circumstances constituting fraud or mistake. Malice,

 intent, knowledge, and other conditions of a person’s mind may be alleged generally.”

 Fed. R. Civ. P. 9(b).

        Alternatively, Wood must show that a special relationship existed between

 herself and the VAMC or Franchini, acting as its employee, which imposed a duty to

 disclose to Wood the facts associated with the alleged professional negligence, and

 that the duty was breached by the VAMC or Franchini. See Brawn, 819 A.2d at 1026.



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 Absent a special relationship, silence and inaction are insufficient as a matter of law

 to establish active concealment because omission by silence is not tantamount to

 supplying false information. See Brae Asset Fund, L.P. v. Adam, 661 A.2d 1137, 1140

 (Me. 1995) (“[A]bsent a fiduciary or confidential relationship[] there is no duty to

 disclose information.”); Glynn v. Atl. Seaboard Corp., 728 A.2d 117, 120 (Me. 1999).

       I analyze Wood’s assertion of fraudulent concealment by considering (A) the

 relevant allegations of active concealment made by Wood; (B) the Government’s

 challenge to those allegations; and (C) Wood’s allegations of a special relationship.

       A.     Wood’s Allegations of Active Concealment

              i. Concealment by Dr. Franchini

       Wood’s Second Amended Complaint alleges that Franchini concealed material

 facts in an attempt to hide that he performed improper and unnecessary surgeries.

 Specifically, Wood alleges that Franchini improperly performed a fusion of Wood’s

 left ankle in 2006. She further alleges that after she informed Franchini in 2007 that

 she had ongoing pain in her left ankle and foot and had difficulty walking, he told her

 that the operation on her left ankle had been successful, that her ankle had been

 appropriately fused, and that any problems she was experiencing were due to

 degenerative joint disease and porous bone. Wood also alleges that Franchini told

 her in 2009 that she needed to have a left subtalar joint fusion because of her

 degenerative joint disease, and that the cause of her ongoing problems was osteopenia

 and that she should wear special rocker bottom shoes to help her healing. Wood’s left

 leg was eventually amputated to address her pain.



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        Additionally, the Second Amended Complaint cites an April 2012

 memorandum authored by Yuri Walker, the Director of the Risk Management

 Program at the Veterans Health Administration’s Office of Quality, Safety, and

 Value, on behalf of a “Subject Matter Expert Panel” convened by the VAMC to

 evaluate Franchini’s patient care (the “Walker Memorandum” or “Memorandum”).

 The Memorandum states that “it appears that [Franchini] was actively falsifying

 some medical records, stating that the patient was doing well, when the opposite was

 true.” The Memorandum also contains the following question and answer:

       Q: Is it certain that records were being actively falsified, or was it a case
       of poor clinical judgment?

       A: It appears to be a combination of both active falsification and poor
       clinical judgment. The radiographs did not support the decisions to
       operate in most cases. In other cases, patients have stated that what
       the provider told them is different from what was documented in the
       chart. It has been noted that there was a lack of conservative
       management in most cases, and an emphasis on surgery.

 ECF 112-3, at 3.

       Wood contends that the following representations were knowingly false or

 made with a reckless disregard for their truth or falsity and were all part of an

 attempt to conceal that the 2006 surgery was performed improperly and

 unnecessarily: Franchini’s assurances that her 2006 surgery had been successful; his

 statements that her ankle and foot problems were due to degenerative joint disease

 and porous bone; his statement that the cause of her ankle and foot problems was

 osteopenia; and his statement that Wood needed a second surgical procedure in 2009

 for reasons having to do with her own anatomy. Wood also asserts that Franchini’s



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 alleged concealment is imputed to the VAMC because Franchini was acting within

 the scope of his employment.

                ii. Concealment by the VAMC

        Wood      contends     that    the   VAMC       fraudulently      concealed     Franchini’s

 malpractice, and in so doing was also directly negligent in its care of her. Specifically,

 the Second Amended Complaint alleges that in late 2009, VAMC officials became

 aware of concerns regarding Franchini’s surgical practices. Dr. Timothy Richardson,

 then chief of staff at the VAMC, directed Dr. Robert Sampson, then Chief of Surgery,

 to conduct a review of 25 random surgical procedures performed by Franchini. Dr.

 Sampson completed his review in March 2010 and concluded that there appeared to

 be “significant documentation and quality of care issues in a number of [the 25]

 cases.”3 On April 27, 2010, the VAMC Professional Standards Board suspended

 Franchini who would later resign on November 8, 2010. In September, the VAMC

 sent an “alert notice” to the state licensure boards in the jurisdictions where

 Franchini was licensed, notifying them of an issue of clinical competence. In April

 2010, the VAMC prepared an “Issue Brief” concerning the VAMC’s investigation of

 Franchini’s care, which ordered a broader review of Franchini’s surgical cases.

        The VAMC’s disclosure of adverse events related to clinical care is governed by

 VHA Directive 2008-002 (the “Directive”).              The Directive defines three kinds of

 disclosure, including “Institutional Disclosure” for “cases resulting in serious injury

 or death, or those involving reasonably expected serious injury, or potential legal


  3 It bears emphasis that this and the other alleged facts have not been fully examined and tested by
 the trial process and finally determined by a factfinder.

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 liability.” ECF No. 72-5 at 3. The VAMC “Issue Brief” on Franchini noted that, as of

 April 15, 2010, it was “considered likely that institutional disclosure of unnecessary

 or inappropriate surgical interventions [by Franchini] will be required.” ECF No.

 112-4 at 2. At some point between September 2011 and March 2012, Dr. Sampson

 reviewed Wood’s case and provided a written assessment to Dr. Richardson in March

 2012, which stated, among other concerns with Franchini’s care, that there was

 evidence of negligence or a deviation from the normal standard of care. The VAMC

 contacted Wood in February 2013 to alert her that Franchini may have provided her

 negligent care, more than three years after Franchini’s last operation on Wood. Wood

 alleges that the VAMC actively concealed Franchini’s negligence from her by

 deliberately delaying its investigation and disclosure of Franchini’s negligence.

       B.       The Government’s Challenge

       The Government has submitted declarations and exhibits which, it contends,

 establish that neither Franchini nor the VAMC engaged in fraudulent concealment.

 In response, Wood has submitted her own declarations, deposition transcripts, and

 exhibits.

       As to Franchini, the Government first asserts that there is no evidence that

 Wood’s medical treatment was at issue when Walker authored her April 2012

 Memorandum, and notes that Walker never spoke to Franchini in preparing that

 report.     The Government further discounts the probative value of the Walker

 Memorandum by noting that although Walker found that Franchini appeared to have

 falsified patient records, Wood does not predicate her fraudulent concealment claim



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 on anything contained in her own medical records. Finally, the Government submits

 a declaration from Franchini attesting that he never “‘lied’ to a patient about their

 condition or the reasons why [he] believed they were experiencing pain,” and never

 “concealed anything about a patient’s condition or [his] care from that patient.” ECF

 No. 115-1 at ¶ 3. Franchini also states that “any statements [he] made to all of [his]

 patients (plaintiffs included) were based on what [he] believed in good faith to be true

 at the time,” id., and that he endeavored “at all times to communicate accurate and

 truthful information to all my patients.” Id. at ¶ 4.

       As to the VAMC, the Government makes two primary arguments: first, based

 on the affidavits and declarations from VAMC officials, the facts do not show an

 intent to conceal but rather, at worst, a negligent but good faith investigation into

 Franchini’s practices, and second, that the facts show only nondisclosure rather than

 concealment.

       The Government makes both a facial and a factual challenge to Wood’s

 allegations. Neither party cites to any decisional authority in this Circuit as to

 whether a defendant can have it both ways by asking the court to consider the

 sufficiency of a complaint’s jurisdictional allegations, while simultaneously disputing

 most of those allegations and submitting evidence outside the pleadings. In Torres-

 Negrón, however, the court noted that “if the movant, either in his motion or in any

 supporting materials, denies or controverts the pleader’s allegations of jurisdiction,

 then he is deemed to be challenging the actual existence of subject matter jurisdiction,

 and the allegations of the complaint are not controlling.” 504 F.3d at 162 n.8 (1st Cir.



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 2007), quoting 5 C. Wright & A. Miller, Federal Practice and Procedure, § 1363, at

 653-54 (1969); but see Hollingsworth v. United States, No. CV-05-80-B-W, 2005 WL

 3435099, at *4 n.5 (D. Me. Dec. 14, 2005) (“[A]ddressing the sufficiency of the

 allegations in the Complaint would appear to be a necessary prerequisite before

 examining their underlying accuracy.”). I adopt the approach suggested by Torres-

 Negrón. Where, as here, a party disputes the jurisdictional allegations of a complaint

 and offers a substantial body of evidence in support of its position, the court’s inquiry

 should focus on that evidence to determine whether subject matter jurisdiction

 actually exists. Although I proceed accordingly, I note that even if a facial analysis

 was required, the allegations of Wood’s Second Amended Complaint would survive

 facial scrutiny.

       It is apparent from the factual record submitted by the parties that the

 jurisdictional facts (i.e., fraudulent concealment) and the facts related to the merits

 (i.e., negligence) are intertwined. Both concern what Franchini allegedly did and said

 to Wood, and what was and was not communicated to Wood regarding the potential

 cause of the ongoing problems that led to the eventual amputation of her leg. As

 such, I employ the standard applicable to a motion for summary judgment in ruling

 upon the Government’s factual challenge, see Torres-Negrón, 504 F.3d at 162-63, by

 assessing the record in the light most favorable to Wood as the nonmovant and

 resolving all reasonable inferences in her favor. See Small Justice LLC v. Xcentric

 Ventures LLC, 873 F.3d 313, 323 (1st Cir. 2017). Applying that standard, I conclude

 that Wood’s allegations of active concealment, although disputed by the Government,



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 have a factual foundation and raise a genuine issue of disputed material fact

 concerning whether Franchini concealed instances of alleged negligence from Wood

 and whether the VAMC also concealed Franchini’s alleged negligence from Wood.

       The Government concedes that Wood had the 2006 and 2009 ankle fusion

 procedures, that Franchini told her that the 2006 procedure was successful, and that

 Franchini told her that the 2009 procedure was necessary for reasons having to do

 with Wood’s own anatomy rather than an iatrogenic cause. The Government does

 not dispute that Franchini blamed Wood’s pain on degenerative joint disease and

 osteopenia rather than his own performance. Although Wood does not base her

 fraudulent concealment allegations on the contents of her own medical records, the

 Walker Memorandum nevertheless raises a question of fact as to whether Franchini

 engaged in a pattern of active falsification in his dealings with his patients, including

 Wood. The Government argues that the Walker Memorandum “hardly provides a

 sufficient factual foundation for Wood’s ‘active concealment’ claim,” citing a

 declaration from Walker stating that she never spoke to Franchini and had no first-

 hand knowledge regarding his state of mind, or what he was thinking when he

 documented the condition of his patients. ECF No. 115 at 7 n.1. However, although

 Walker’s Declaration minimizes the foundation for the conclusions stated in her

 earlier Memorandum, it does not neutralize the factual significance of those

 conclusions. A jury could reasonably infer from the panel’s conclusions, stated in the

 Walker Memorandum, that Franchini regularly falsified information related to his

 treatment of VAMC patients, and, notwithstanding the denials contained in his



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 declaration, the representations he made to his patients, including Wood following

 her 2006 surgery, were either knowingly false or made with reckless disregard as to

 their falsity.

        Resolving all reasonable inferences in Wood’s favor, I conclude that a jury,

 presented with the facts asserted by Wood, considered in conjunction with the Walker

 Memorandum, could reasonably infer that when Franchini told Wood that her

 unsuccessful procedure was successful and that her continued pain was due to her

 own anatomy, Franchini had knowledge of its falsity or acted with reckless disregard

 as to whether it was true or false, that the false representation was material and

 made to induce Wood’s reliance, and that Wood reasonably relied on the

 representation. See Harris Mgmt., Inc., 151 A.3d at 16 n.7.

        The parties also dispute whether the facts show the VAMC’s intent to conceal.

 Wood frames the issue as “whether anyone associated with the Government took

 deliberate action which had the effect of concealing information concerning

 Franchini’s malpractice and thereby delayed the onset of litigation, to the detriment

 of patients injured by the malpractice.” ECF No. 112 at 10 n.4 (emphasis added).

 This casts too wide a net, however, by eliminating the element of a specific intent to

 conceal. The Government frames the issue more narrowly, arguing that Wood must

 show the VAMC was “cognizant of the applicable statute of limitations” and

 “purposely delayed” its investigation to discourage or negate otherwise valid claims

 against the Government. ECF No. 107 at 10. Although such a motive could form the

 basis for a finding of fraudulent concealment, it is not the only possible motive that



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 might do so. Any motive resulting in the making of a false representation for the

 purpose of gaining advantage by inducing another to act or rely upon it is sufficient.

 See Harris Mgmt., Inc., 151 A.3d at 17. Thus, for example, if a hospital’s leaders were

 motivated to conceal information showing a physician’s possible negligence in the

 hope of avoiding the negative publicity associated with a complaint by the patient,

 whether timely or not, that motive would demonstrate an intent to conceal.

       The VAMC became aware of problems with Franchini’s medical care in late

 2009. The initial review of a sample of his cases completed in March 2010 raised even

 greater concerns, prompting Franchini’s suspension and subsequent resignation, an

 investigation into all of Franchini’s surgical cases, and the expectation of an

 “Institutional Disclosure” pursuant to the VAMC’s Directive. The VAMC’s Directive

 states that “[i]nstitutional disclosure of an adverse event must take place as soon as

 possible (generally within 24 hours, but no more than 72 hours if adequate

 information is available) after a practitioner’s discovery of the adverse event.” ECF

 No. 72-5 at 10. The undisputed facts further show that no disclosures were made in

 2010, and that the broader investigation into Franchini’s surgical cases conducted by

 Dr. Sampson stretched from 2010 into 2012.          Dr. Richardson testified at his

 deposition that notwithstanding the reports he received from Dr. Sampson between

 2010 and 2012, he decided not to make disclosures because he needed more

 information and because premature disclosures could cause liability for the VAMC.

 ECF No. 112-6 at 32, 262, 266. Thus, rather than make disclosures to patients, the

 VAMC undertook a secondary review of all of Franchini’s cases starting in the



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 summer of 2012 which had the effect of further postponing the disclosure. ECF No.

 107-1 at ¶ 10.

         Dr. Sampson reviewed Wood’s record no later than March 13, 2012, finding

 evidence of negligence or a deviation from the normal standard of care, ECF No. 107-

 3 at ¶ 15, and testified that it was his expectation that patients who had suffered

 adverse events should and would be promptly notified. ECF No. 112-5 at 149, 167.

 The VAMC did not send a disclosure letter to Wood, however, until February 2013,

 over ten months later. Declarations from Dr. Richardson and the VAMC’s Chief

 Executive Officer, Brian Stiller, indicate that acceleration toward eventual disclosure

 occurred only after Stiller was replaced as VAMC’s Chief Executive Officer. See ECF

 No. 107-1 at ¶ 8, 107-4 at ¶ 6. Even at that point, the decision was made to delay

 disclosures until patients were re-examined, according to the testimony of Ryan Lilly,

 who was the Associate Director and then the Director at the VAMC. ECF No. 112-8

 at 15. The VAMC made just one disclosure in 2012, to a patient who had been treated

 by Franchini and who was suffering from a terminal illness unrelated to Franchini’s

 care.

         I conclude that there is a genuine factual dispute as to whether the VAMC

 engaged not merely in possibly negligent nondisclosure, but rather in a pattern of

 conduct intended to keep the potential controversy regarding Franchini out of the

 public eye. There is evidence that VAMC officials avoided or delayed compliance with




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 the Directive’s timeframes.4 The two VAMC officials most responsible for making the

 disclosures, Dr. Richardson and former Chief Executive Officer Stiller, were

 ultimately disciplined by Veterans Affairs for the years-long delay that occurred.

 ECF No. 107-1 at ¶ 13; ECF No. 107-4 at ¶ 7. Although both attributed that delay to

 inattention on their part, and explained that they at all times were acting in good

 faith, the evidence also permits an inference that the disclosures were not made to

 avoid placing the VAMC in a negative light with respect to its care of potentially

 hundreds of its patients. The record reflects that as of July 24, 2012, when the VAMC

 had reviewed all 431 of Franchini’s surgical cases, 60% or 257 were found to warrant

 institutional disclosure. See ECF No. 112-4 at 8, 10. Considering all of the facts in

 the light most favorable to Wood as the non-moving party, the facts could support a

 finding that the VAMC’s course of conduct constituted not just nondisclosure, but

 “steps taken by a defendant to hide the true state of affairs from the plaintiff.” Kezer,

 742 A.2d at 905.

           Resolving all reasonable inferences in Wood’s favor, I conclude that there is a

 genuine factual dispute as to whether the VAMC intentionally delayed disclosures to

 conceal Franchini’s negligence from his patients, including Wood.5                                      Because



   4 To the extent Wood contends that the VAMC’s failure to follow the Directive’s disclosure policies itself amounts

 to concealment by design by VAMC administrators, see, e.g., ECF No. 102 at ¶ 105, that argument fails. As
 explained above, absent a special relationship there can be no concealment by inaction or silence. See Glynn, 728
 A.2d at 120; Brae, 661 A.2d at 1140. Moreover, the Directive is not a formal regulation, DaVita, Inc. v. United
 States, 110 Fed. Cl. 71 (Fed. Cl. 2013), and Wood has not articulated a basis for concluding that the VAMC was
 in error to the extent that it did not follow the Directive, or that the VAMC’s self-imposed regulations created a
 special relationship between it and its patients. However, the Directive does provide context for the VAMC’s
 actions, particularly to the extent that VAMC officials took affirmative steps to avoid or delay complying with its
 disclosure provisions.

  5   I cannot and do not resolve that factual dispute at this stage of the proceedings.

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 Franchini’s treatment of Wood ended in December 2009, if the VAMC had disclosed

 its findings soon after the March 2012 review of Wood’s care was completed, she could

 have initiated a civil action within the three-year repose period established by § 2902

 as well as the six-year limitations period established by § 859.

       Because the facts related to subject matter jurisdiction and the merits are both

 inextricably intertwined and largely in dispute, I deny the Government’s Motion to

 Dismiss as to Counts I, II, and III.

       C.     Special Relationship

       Wood contends in the alternative that even absent active concealment, a

 special relationship existed between her and the VAMC so that the VAMC’s failure

 to inform her of Franchini’s malpractice constitutes fraudulent concealment. See

 Noveletsky v. Metro. Life Ins. Co., No. 2:12-cv-00021-NT, 2013 WL 2945058, at *9 (D.

 Me. June 14, 2013) (“In Maine, fraud by failure to disclose or by silence may be

 established . . . by demonstrating a special relationship . . . that imposes an

 affirmative duty to disclose.”) (internal citations omitted).

       I determined in my February 2016 Order that Wood had failed to establish

 that a special relationship existed between her and the VAMC based upon a hospital-

 patient relationship.   ECF No. 45 at 31-32.        Thus, Wood’s special relationship

 argument is barred by the law of the case doctrine.                Remexcel Managerial

 Consultants, Inc. v. Arlequín, 583 F.3d 45, 53 (1st Cir. 2009) (quoting Arizona v.

 California, 460 U.S. 605, 618 (1983) (“When a court decides upon a rule of law, that




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 decision should continue to govern the same issues in subsequent stages in the same

 case.”).

        Even if it was not barred by the law of the case doctrine, Wood’s argument

 would still fail. Maine law defines a “special relationship” as a relationship “giv[ing]

 rise to an affirmative duty to aid and protect, such as the relationship between a

 common carrier and passenger, employer and employee, parent and [minor] child, or

 innkeeper and guest.” Estate of Cummings v. Davie, 40 A.3d 971, 974 (Me. 2012)

 (quotation marks omitted). The nature of Wood’s relationship with the VAMC—that

 of an Army veteran receiving outpatient care for a foot and ankle injury—does not

 reach the level of a power imbalance that characterized the relationships in which

 the Maine Law Court has recognized a special relationship. See, e.g., Dragomir v.

 Spring Harbor Hosp., 970 A.2d 310, 315 (Me. 2009) (finding special relationship

 between hospital and highly vulnerable psychiatric patients); Fortin v. Roman

 Catholic Bishop of Portland, 871 A.2d 1208, 1220-22 (Me. 2005) (finding special

 relationship between church and student/altar boy who was sexually abused by a

 priest). While the VAMC occupied an important role in Wood’s life to the extent that

 it was providing her with medical care, its presence in her life “was not marked by a

 great disparity of position and influence.” Gniadek v. Camp Sunshine at Sebago Lake,

 Inc., 11 A.2d 308, 314-15 (Me. 2011).

        There was no special relationship between Wood and the VAMC, and,

 therefore, there is no reason to apply § 859 on that basis.




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 2.    Claim for Fraudulent Concealment

       In addition to its argument that Wood’s claims are time-barred pursuant to

 § 2902, the Government further argues that Count IV, which seeks damages for the

 tort of fraudulent concealment, as distinguished from fraudulent concealment in

 connection with the application of § 859, should be dismissed for lack of subject matter

 jurisdiction pursuant to 28 U.S.C.A. §§ 2675(a) and 2680(h).

       Section 2680(h) limits the Federal Tort Claims Act’s waiver of sovereign

 immunity established by § 1346(b)—which authorizes suits against the United States

 for certain torts—over “[a]ny claim arising out of assault, battery, false

 imprisonment, false arrest, malicious prosecution, abuse of process, libel, slander,

 misrepresentation, deceit, or interference with contract rights[.]”        28 U.S.C.A.

 § 2680(h) (emphasis added). Thus, because Wood’s count for fraudulent concealment

 is premised on an alleged misrepresentation, this Court lacks jurisdiction over it. See

 Mullens v. United States, 785 F. Supp. 216, 219 (D. Me. 1992) (“The

 misrepresentation exception to the FTCA bars suits based on negligent as well as

 deliberate misrepresentations . . . whether based on false statements or a failure to

 provide information[.]”) (internal quotations and citations omitted), aff’d, 976 F.2d

 724 (1st Cir. 1992). That fraudulent concealment applies to Wood’s case for purposes

 of the statute of limitations analysis under § 859 bears no connection to, and does not

 save, Wood’s separate claim for fraudulent concealment as a basis to recover

 damages.




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        I therefore grant the Government’s Motion to Dismiss as to Count IV. Because

 I conclude that Count IV should be dismissed pursuant to § 2680(h), I do not analyze

 it under § 2675(a).

                                III. CONCLUSION

        For the foregoing reasons, the Government’s Motion to Dismiss the Second

 Amended Complaint (ECF No. 107) is GRANTED as to Count IV, and DENIED as

 to Counts I, II, and III.


        SO ORDERED.

        Dated this 23rd day of February 2018.


                                                       /s/ JON D. LEVY
                                                    U.S. DISTRICT JUDGE




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